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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA

James Milstead, et al.,

        Plaintiffs,

v.                                               Case No. 4:21-cv-06338-JST

GENERAL MOTORS LLC, et al.,

        Defendants.



                          AFFIDAVIT OF DAVID J. NICHOLS

STATE OF INDIANA                    §
                                    §
COUNTY OF HAMIL TON                 §

       BEFORE ME, the undersigned authority, on this day personally appeared David J.

Nichols who, on his oath, did depose and state as follows:

       1.     My name is David J. Nichols, I am over eighteen (18) years of age, of sound

mind, never convicted of a felony or crime involving moral turpitude, and am fully

competent to make this Affidavit.

       2.     Until March 31, 2025, I was employed by Aptiv as a Field Forensics Manager

in Carmel, Indiana, and held this position for four (4) years. As Field Forensics Manager;

my review of Aptiv business records; and my direct work experience, I gained personal

knowledge of the facts stated in this Affidavit, and affirm they are true and correct. As of

April 1, 2025, I transferred to a new position as Technical Program Manager at Aptiv.




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                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                 01/22/2025
                                                                                                    CT Log Number 548231421


Service of Process Transmittal Summary

TO:       BARBARA K. FRANTANGELO
          Aptiv Services US, LLC
          5725 INNOVATION DR
          TROY, MI 48098-2852

RE:       Process Served in Michigan

FOR:      Aptiv Services US, LLC (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        James Milstead, et al. vs. GENERAL MOTORS LLC

CASE #:                                 421CV06338JST

NATURE OF ACTION:                       Subpoena - Business records

PROCESS SERVED ON:                      The Corporation Company, Plymouth, MI

DATE/METHOD OF SERVICE:                 By Process Server on 01/22/2025 at 15:02

JURISDICTION SERVED:                    Michigan

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, Ellen Weir ellen.weir@aptiv.com

                                        Email Notification, Marinica Mecca marinica.mecca@aptiv.com

                                        Email Notification, BARBARA K. FRANTANGELO barbara.k.frantangelo@aptiv.com

REGISTERED AGENT CONTACT:               The Corporation Company
                                        40600 Ann Arbor Road E
                                        Suite 201
                                        Plymouth, MI 48170
                                        866-401-8252
                                        LargeCorporationTeam@wolterskluwer.com

DOCKET HISTORY:

          DOCUMENT(S) SERVED            DATE/METHOD OF SERVICE                  TO                            LOG NUMBER

          --                            By Process Server on 05/20/2024 at      BARBARA K. FRANTANGELO 546467361
                                        12:09                                   Aptiv




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                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                 01/22/2025
                                                                                                    CT Log Number 548231421


Service of Process Transmittal Summary

TO:       BARBARA K. FRANTANGELO
          Aptiv Services US, LLC
          5725 INNOVATION DR
          TROY, MI 48098-2852

RE:       Process Served in Michigan

FOR:      Aptiv Services US, LLC (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        James Milstead, et al. vs. GENERAL MOTORS LLC

CASE #:                                 421CV06338JST

NATURE OF ACTION:                       Subpoena - Business records

PROCESS SERVED ON:                      The Corporation Company, Plymouth, MI

DATE/METHOD OF SERVICE:                 By Process Server on 01/22/2025 at 15:02

JURISDICTION SERVED:                    Michigan

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, Ellen Weir ellen.weir@aptiv.com

                                        Email Notification, Marinica Mecca marinica.mecca@aptiv.com

                                        Email Notification, BARBARA K. FRANTANGELO barbara.k.frantangelo@aptiv.com

REGISTERED AGENT CONTACT:               The Corporation Company
                                        40600 Ann Arbor Road E
                                        Suite 201
                                        Plymouth, MI 48170
                                        866-401-8252
                                        LargeCorporationTeam@wolterskluwer.com

DOCKET HISTORY:

          DOCUMENT(S) SERVED            DATE/METHOD OF SERVICE                  TO                            LOG NUMBER

          --                            By Process Server on 05/20/2024 at      BARBARA K. FRANTANGELO 546467361
                                        12:09                                   Aptiv




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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

James Milstead, et al.,

         Plaintiffs,

v.                                                 Case No. 4:21-cv-06338-JST

GENERAL MOTORS LLC, et al.,
                                                   .
         Defendants.

                   EXHIBIT C TO AFFIDAVIT OF DAVID J. NICHOLS

Request                Subpoena Request                      Estimated          Comments
  No.                                                        Number of
                                                           Hours Required
                                                             to Search
1.          Documents sufficient to describe the                 24         There are
            frontal sensing system hardware                                 approximately
            applicable to the Subject vehicles                              twenty-four (24)
            including but not limited to the (a)                            sensing modules
            SDM, (b) EFS, and (c) ADS.                                      included within this
                                                                            request.
2.          Documents describing or explaining the               16
            frontal sensing system requirements in
            the Subject Vehicles.
3.          PDD (product definition                              16
            documentation) applicable to the frontal
            sensing system in the Subject Vehicles.
4.          SDD (software definition documents)                  8
            applicable to the software in the Subject
            Vehicles.
5.          ADD (algorithm definition documents)                 2
            applicable to the frontal sensing
            algorithm in the Subject Vehicles.
6.          Calibration/parameter files for the                 114         There are multiple
            frontal sensing system in the Subject                           calibrations for each
            Vehicles.                                                       vehicle model and
                                                                            searching for each
                                                                            calibration will
                                                                            require
                                                                            approximately 1.5
                                                                            hours to search.


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7.          Sensing algorithm simulation plots for           40
            the Subject Vehicles.
8.          The production-released configuration             0
            workbooks or the frontal sensing
            system performance summaries
            applicable to the frontal sensing system
            calibrations for the Subject Vehicles.
9.          End of line test procedures for the              24          It will require 1
            following frontal sensing system                             hour to review
            components in the Subject Vehicles: (a)                      records for each
            SDM, (b) EFS, and (c) ADS.                                   sensing module.
10.         Failure Mode Effects Analysis (FMEA)             36          It will require
            documentation for the following frontal                      approximately 1.5
            sensing system components in the                             hours to search for
            Subject Vehicles: (a) SDM, (b) EFS,                          each sensing
            and (c) ADS.                                                 module included in
                                                                         this request.
11.         Pre-Production Approval Process                  24          It will require
            (PPAP) documentation for the                                 approximately 1
            following frontal sensing system                             hour to search for
            components in the Subject Vehicles: (a)                      each sensing
            SDM, (b) EFS, and (c) ADS.                                   module included in
                                                                         this request.
12.         Peer and/or Design Solutions Peer                24
            Review documentation regarding the
            SDM hardware, SDM software, and the
            frontal sensing algorithm for the
            Subject Vehicles.
13.         Frontal Algorithm Design Review                   0
            documentation presented to GM for the
            SDMs in the Subject Vehicles.
14.         Any Delco Electronics frontal sensing            42
            algorithm and frontal calibration best
            practices in existence at the time of the
            development of the SDM frontal
            sensing algorithms and frontal
            calibrations for the Subject Vehicles.
15.         All documents and communications                 40          It will require
            with Chris Caruso related to the frontal                     approximately
            sensing algorithm including                                  sixteen (16) hours
            deployment thresholds, cut-offs, or                          to perform an
            timers in the Subject Vehicles.                              electronic file
                                                                         search and twenty-
                                                                         four (24) hours to
                                                                         perform a paper file
                                                                         search to find


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                                                                         documents
                                                                         responsive to this
                                                                         request.
16.      All documents and communications                    76          It will require
         with Chris Caruso related to the frontal                        approximately
         sensing algorithm including                                     twenty (20) hours to
         deployment thresholds, cut-offs, or                             perform an
         timers in any GM vehicles other than                            electronic file
         the Subject Vehicles.                                           search and fifty-six
                                                                         (56) hours to
                                                                         perform a paper file
                                                                         search to find
                                                                         documents
                                                                         responsive to this
                                                                         request.
17.      All documents and communications                     0          Documents
         with Chris Caruso related to the frontal                        responsive to this
         sensing algorithm including                                     request are included
         deployment thresholds, cut-offs, or                             in request no. 16.
         timers in any vehicles manufactured by
         an OEM other than GM.
18.      All documents and communications                    16          It will take require
         with Chris Caruso related to the design                         approximately eight
         of deployment thresholds, cut-offs, or                          (8) hours to perform
         timers to account for concatenated                              an electronic file
         events.                                                         search and eight (8)
                                                                         hours to perform a
                                                                         paper file search to
                                                                         find documents
                                                                         responsive to this
                                                                         request.
19.      All documents and communications                     8
         relating to the allegations in Plaintiffs'
         Complaint that “Old GM overrode
         serious concerns from a team from
         Delco Electronics (later called Delphi
         Electronics, now known as Aptiv),
         including engineering manager, Chris
         Caruso” regarding the Subject Vehicles,
         including but not limited to allegations
         that “Mr. Caruso and a team of software
         engineers from Delco. . . expressly
         warned Old GM in or about 1999 that
         using its strategy to prematurely cut off
         the potential for airbag and seatbelt
         deployment during a crash event was a


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         reckless and dangerous design
         decision.”
20.      All documents and communications                       0          Documents
         relating to the allegations in Plaintiffs'                        responsive to this
         Complaint that “a separate team in                                request are included
         charge of the design and development                              in request no. 19.
         for GM cars rejected GM Trucks’
         approach [to SDM calibrations] after
         hearing (and heeding) the Delco team’s
         concerns about the earlier [SDM
         calibration] cut off.”
21.      All documents and communications                      16          It will require
         relating to or describing the event                               approximately eight
         progression timer (“EP-1 timer”)                                  (8) hours to perform
         utilized in the Subject Vehicles and the                          an electronic file
         rationale for selecting a given EP-1                              search and eight (8)
         timer value for those vehicles.                                   hours to perform a
                                                                           paper file search to
                                                                           find documents
                                                                           responsive to this
                                                                           request.
22.      All documents and communications                       0          Documents
         relating to any concerns or warnings                              responsive to this
         expressed by You to Old GM or GM                                  request are included
         regarding the SDM frontal calibrations                            in request no. 19.
         in the Subject Vehicles.
23.      All documents and communications                       0          This search has
         exchanged between You or Your                                     already been
         attorneys and Plaintiffs or Plaintiffs'                           completed.
         Counsel, including any tolling
         agreements, regarding the Litigation.
                                         TOTAL: 526




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